                     Case 08-41594                          Doc 1          Filed 05/18/08 Entered 05/18/08 19:20:31                                                Desc Main          5/18/08 7:21PM

B1 (Official Form 1)(1/08)
                                                                             Document     Page 1 of 39
                                               United States Bankruptcy Court
                                                           District of Massachusetts                                                                           Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Hicks, Krista L


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(inclu de married, maiden, and trade names):                                                            (inclu de married, maiden, and trade names):
  FKA Krista M Larsen; AKA Krista Hicks; AKA Krista
  Larsen Hicks; AKA Krista M Hicks; AKA Krista
  Larsen-Hicks; AKA Krista Marie Larsen

Last fou r digits of Soc. Sec. or Ind ividual-Taxpay er I.D. (ITIN) No./Complete EIN Last fou r digits of Soc. Sec. or Ind ividual-Taxpay er I.D. (ITIN) No./Complete EIN
(if mor e than one, state all)                                                                          (if mor e than one, state all)
  xxx-xx-2295
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  19 Treble Cove Road
  North Billerica, MA
                                                                                        ZIP Code                                                                                     ZIP Code
                                                                                    01862
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Middlesex
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                        ZIP Code                                                                                     ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                    Type of Debtor                                         Nature of Business                                     Chapter of Bankruptcy Code Under Which
                 (Form of Organization)                                       (Check one box)                                        the Petition is Filed (Check one box)
                    (Check one box)                                Health Care Business                               Chapter 7
                                                                   Sin gle Asset Real Estate as defined               Chapter 9                        Chapter 15 Petition for Recognition
    Ind ividual (inclu des Joint Debtors)                          in 11 U.S.C. § 101 (51B)                                                            of a Foreig n Main Proceeding
    See Exhib it D on page 2 of this form.                                                                            Chapter 11
                                                                   Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (inclu des LLC and LLP)                            Sto ckbroker
                                                                   Commodity Broker                                   Chapter 13                       of a Foreig n Non main Proceeding
    Partnership
                                                                   Clearin g Bank
    Other (If debtor is not one of the above entities,             Other                                                                          Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                           Tax-Exempt Entity
                                                                          (Check box, if applicable)                  Debts are primarily consumer debts,                 Debts are primarily
                                                                   Debtor is a tax-exempt org anization               defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                   under Title 26 of the United States                "incurred by an individual primarily for
                                                                   Code (the Internal Revenue Code).                  a personal, family, or household purpose."

                            Filing Fee (Check one box)                                                  Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consid eratio n certifying that the debtor
    is unable to pay fee except in installments. Rule 1006 (b). See Official Form 3A.                          Debtor’s aggregate noncontingen t liquidated debts (exclud ing debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consid eratio n. See Official Form 3B.                           A plan is bein g filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126 (b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that fun ds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt pro perty is excluded and administrative expenses paid ,
   there will be no fun ds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-            100-           200-         1,000-       5,001-       10,001-     25,001-       50,001-        OVER
    49            99             199            999          5,000        10,000       25,000      50,000        100,000       100,000
Estimated Assets

    $0 to         $50,001 to     $100,001 to    $500,001     $1,000,001   $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
    $50,000       $100,000       $500,000       to $1        to $10       to $50      to $100     to $500      to $1 billion $1 billion
                                                million      million      million     million     million
Estimated Liabilities

    $0 to         $50,001 to     $100,001 to    $500,001     $1,000,001   $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
    $50,000       $100,000       $500,000       to $1        to $10       to $50      to $100     to $500      to $1 billion $1 billion
                                                million      million      million     million     million
                  Case 08-41594                 Doc 1           Filed 05/18/08 Entered 05/18/08 19:20:31                                       Desc Main                5/18/08 7:21PM

B1 (Official Form 1)(1/08)
                                                                  Document     Page 2 of 39                                                                                 Page 2
                                                                                       Name of Debtor(s):
Voluntary Petition                                                                       Hicks, Krista L
(This page must be completed and filed in every case )
                                 All Prior Bankruptc y Case s Filed Within Last 8 Years (If more than two, attach additional shee t)
Location                                                                        Case Numbe r:                        Date Filed:
Where Filed: - None -
Location                                                                               Case Numbe r:                                  Date Filed:
Where Filed:
          Pending Bankruptc y Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one , attach additional shee t)
Name of Debtor:                                                      Case Numbe r:                         Date Filed:
 - None -
Distric t:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                 Exhibit B
                                                                                          (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be comple ted if debtor is required to file periodic reports (e.g.,                I, the attorn ey for the petitioner named in the forego ing petition, declare that I
  forms 10K and 10Q) with the Sec urities and Exchange Commission                        have informed the petitioner that [he or she] may pro ceed under chapter 7, 11,
  pursuant to Sec tion 13 or 15(d) of the Sec urities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                            under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                         required by 11 U.S.C. §342 (b).

        Exhibit A is attached and made a part of this petition.                          X    /s/ Mark E. Archer                                          May 18, 2008
                                                                                             Sig nature of Attorney for Debtor(s)                    (Date)
                                                                                              Mark E. Archer

                                                                                 Exhibit C
  Does the debtor own or have possession of any pro perty that poses or is alleged to pose a threat of imminent and iden tifiable harm to public health or safety?
       Yes, and Exhibit C is attached and mad e a part of this petition.
       No.

                                                                            Exhibit D
  (To be comple ted by every individual debtor. If a joint petition is filed, each spouse must comple te and attach a sepa rate Exhibit D.)
        Exhibit D comple ted and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also comple ted and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                   Debtor has been domicile d or has had a residence, principal place of business, or principal assets in this Distric t for 180
                   days immedia tely preceding the date of this petition or for a longer part of such 180 days than in any other Distric t.
                   There is a bankruptcy case concerning debtor's affilia te, genera l partner, or partnership pending in this Distric t.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this Distric t, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this Distric t, or the interests of the parties will be served in regard to the relief
                   sought in this Distric t.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of land lord that obtained judgment)




                                       (Address of land lord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire moneta ry default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                  Document     Page 3 of 39                                                                                Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Hicks, Krista L
(This page must be completed and filed in every case )
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Represe ntative
     I declare under penalty of perjury that the informatio n pro vid ed in this             I declare under penalty of perjury that the informatio n pro vid ed in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            pro ceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may pro ceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understan d the relief
     available under each such chapter, and choose to pro ceed under chapter 7.                 I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorn ey represents me and no bankrup tcy petition preparer signs the              Certified copies of the documents required by 11 U.S.C. §151 5 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342 (b).
                                                                                                Pursuant to 11 U.S.C. §151 1, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the ord er granting
     specified in this petition.                                                                reco gnition of the foreign main pro ceeding is attached.


      /s/ Krista L Hicks                                                                   X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Krista L Hicks

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Numbe r (If not represented by attorney)                                           Signature of Non-Attorney Bankruptc y Petition Prepare r
      May 18, 2008
                                                                                               I declare under penalty of perjury that: (1) I am a bankrup tcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have pro vid ed the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and informatio n required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been pro mu lgated
 X    /s/ Mark E. Archer                                                                       pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                                               chargeable by bankrup tcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amo unt before preparing any document for filin g for a
      Mark E. Archer                                                                           debtor or accepting any fee from the debtor, as required in that sectio n.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Offices of Mark E. Archer
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      5 Fletcher Street
      2nd Floor                                                                                Social-Security number (If the bankrutpcy petition pre parer is not
      Chelmsford, MA 01824                                                                     an individual, state the Social Sec urity number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   pre parer.)(Required by 11 U.S.C. § 110.)

                       Email: ECF@archer-lawoffices.com
      978-250-5859 Fax: 978-250-5860
     Telephone Numbe r
      May 18, 2008
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certificatio n that the attorn ey has no knowledge after an inquiry that the          X
     informatio n in the sch edules is inco rrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Sig nature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the informatio n pro vid ed in this               person,or partner whose Social Security number is pro vid ed above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankrup tcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may resu lt in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110 ; 18 U.S.C. §156 .

     Date
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                                                                           Document     Page 4 of 39
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                                District of Massachusetts
  In re          Krista L Hicks                                                                                       Case No.
                                                                                                                ,
                                                                                               Debtor
                                                                                                                      Chapter                 7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also comple te the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                 NO. OF         ASSETS                LIABILITIES              OTHER
                                                            (YES/NO)                SHEETS

A - Real Prope rty                                                Yes                 1                 318,729.00


B - Personal Prope rty                                            Yes                 3                    6,275.00


C - Prope rty Claimed as Exempt                                   Yes                 1


D - Creditors Holding Sec ured Claims                             Yes                 1                                         359,444.80


E - Creditors Holding Unse cured                                  Yes                 2                                          91,336.41
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unse cured                                  Yes                 5                                          98,206.22
    Nonpriority Claims
G - Executory Contracts and                                       Yes                 1
    Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                3,460.50
    Debtor(s)
J - Current Expenditures of Individual                            Yes                 1                                                                4,540.00
    Debtor(s)

   Total Numbe r of Sheets of ALL Schedules                                           17


                                                                                Total Assets            325,004.00


                                                                                                 Total Liabilities              548,987.43




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                                District of Massachusetts
  In re           Krista L Hicks                                                                                          Case No.
                                                                                                               ,
                                                                                             Debtor
                                                                                                                          Chapter               7



               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Chec k this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purpose s only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as repor ted in the Schedules, and total them.


              Type of Lia bility                                                                      Amount

              Domestic Support Obligations (from Schedule E)                                                           0.00

              Taxes and Certain Other Debts Owed to Govern mental Units
                                                                                                               91,336.41
              (from Schedule E)
              Claims for Death or Personal Injury Wh ile Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)                                                       0.00

              Stu dent Loan Obligations (from Schedule F)                                                              0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                       0.00
              (from Schedule F)

                                                                                     TOTAL                     91,336.41


              State the following:

              Average Income (from Schedule I, Line 16)                                                            3,460.50

              Average Expenses (from Schedule J, Line 18)                                                          4,540.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                             4,805.85


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  colu mn
                                                                                                                                             0.00

              2. Total from Schedule E, "AM OUNT ENTITLED TO PRIORITY"
                                                                                                               42,920.41
                  colu mn
              3. Total from Schedule E, "AM OUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" colu mn
                                                                                                                                        48,416.00

              4. Total from Schedule F                                                                                                  98,206.22

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             146,622.22




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B6A (Official Form 6A) (12/07)


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  In re          Krista L Hicks                                                                                       Case No.
                                                                                                          ,
                                                                                           Debtor

                                                                SCHEDULE A - REAL PROPERTY
        Except as dire cted below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Desc ription and Location of Property."
        Do not inc lude interests in executory contracts and unexpired lease s on this schedule. List them in Schedule G - Exec utory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Sec ured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Prope rty Claimed as Exempt.

                                                                                                          Husband,    Current Value of
                                                                                Nature of Debtor's         Wife,     Debtor's Inte rest in          Amount of
                 Description and Location of Prope rty                                                                Property, without
                                                                                Inte rest in Prope rty     Joint, or                               Sec ured Claim
                                                                                                         Community Deducting  any Sec ured
                                                                                                                     Claim or Exemption

Single Family Home. Billerica, MA                                                                             -                  318,729.00               357,759.80




                                                                                                          Sub-Total >            318,729.00        (Total of this page)

                                                                                                                  Total >        318,729.00
  0     continuation shee ts attached to the Schedule of Real Prope rty
                                                                                                          (Report also on Summary of Schedules)

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B6B (Official Form 6B) (12/07)


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  In re          Krista L Hicks                                                                                          Case No.
                                                                                                             ,
                                                                                           Debtor


                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as dire cted below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional spac e is needed in any category, attach a sepa rate shee t properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Prope rty Claimed as Exempt.
    Do not list interests in executory contracts and unexpired lease s on this schedule. List them in Schedule G - Exec utory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Desc ription and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See , 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                  Husband,        Current Value of
                Type of Prope rty                            O                  Description and Location of Prope rty            Wife,     Debtor's Inte rest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Sec ured Claim or Exemption

1.     Cash on hand                                              U.S. Currency                                                      -                           100.00

2.     Checking, savings or other fina ncia l                    Citizens Bank (checking)                                           -                            10.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       coope ratives.

3.     Sec urity deposits with public                        X
       utilities, telephone compa nies,
       landlords, and others.

4.     Household goods and furnishings,                          Misc. Household Goods                                              -                        1,500.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compa ct disc, and
       other collections or collectibles.

6.     Wearing appare l.                                         Clothing                                                           -                           500.00

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Inte rests in insurance policies.                     X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuitie s. Itemize and name each                        X
    issuer.




                                                                                                                                    Sub-Total >            2,110.00
                                                                                                                        (Total of this page)

  2     continuation shee ts attached to the Schedule of Personal Prope rty

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Krista L Hicks                                                                                          Case No.
                                                                                                             ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                Type of Prope rty                            O                  Description and Location of Prope rty            Wife,     Debtor's Inte rest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Sec ured Claim or Exemption

11. Inte rests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qua lified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particula rs. (File sepa rately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Inte rests in IRA, ERISA, Keogh, or                      X
    other pension or profit sharing
    plans. Give particula rs.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Inte rests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotia ble and
    nonnegotiable instrume nts.

16. Accounts receivable.                                     X

17. Alimony, maintenanc e, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particula rs.

18. Other liquidate d debts owed to debtor X
    including tax refunds. Give particula rs.


19. Equita ble or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counte rclaims of the
    debtor, and rights to setoff claims.
    Give estima ted value of each.


                                                                                                                                    Sub-Total >                  0.00
                                                                                                                        (Total of this page)

Sheet 1 of 2          continuation shee ts attached
to the Schedule of Personal Prope rty

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                     Case 08-41594                      Doc 1            Filed 05/18/08 Entered 05/18/08 19:20:31                         Desc Main           5/18/08 7:21PM
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B6B (Official Form 6B) (12/07) - Cont.




  In re          Krista L Hicks                                                                                          Case No.
                                                                                                             ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                Type of Prope rty                            O                  Description and Location of Prope rty            Wife,     Debtor's Inte rest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Sec ured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particula rs.

23. Licenses, franchises, and other                          X
    genera l intangibles. Give
    particula rs.

24. Custome r lists or other compila tions                   X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           Mazda Tribut                                                       -                        3,665.00
    other vehicles and acce ssories.

26. Boats, motors, and acce ssories.                         X

27. Aircraft and acce ssories.                               X

28. Offic e equipment, furnishings, and                          Coper/fax.                                                          -                          500.00
    supplies.                                                    Dell Computer
                                                                 Telephone
                                                                 Desk
                                                                 3 Chairs

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particula rs.

33. Farming equipment and                                    X
    impleme nts.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                    Sub-Total >            4,165.00
                                                                                                                        (Total of this page)
                                                                                                                                         Total >           6,275.00
Sheet 2 of 2          continuation shee ts attached
to the Schedule of Personal Prope rty                                                                                               (Report also on Summary of Schedules)

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 B6C (Official Form 6C) (12/07)


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   In re          Krista L Hicks                                                                                         Case No.
                                                                                                               ,
                                                                                               Debtor

                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                        Chec k if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                        $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                  Value of            Current Value of
                    Description of Prope rty                                              Each Exemption                      Claimed             Prope rty Without
                                                                                                                             Exemption          Deducting Exemption
Real Property
Single Family Home. Billerica, MA                                                Mass. Gen. Laws c.188, § 1                      357,759.80                318,729.00

Cash on Hand
U.S. Currency                                                                    Mass. Gen. Laws c. 235, § 34(15)                     125.00                     100.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Citizens Bank (checking)                          Mass. Gen. Laws c. 246, § 28A                                                        10.00                      10.00

Household Goods and Furnishings
Misc. Household Goods                                                            Mass. Gen. Laws c.235, § 34(2)                     1,500.00                  1,500.00

Wearing Apparel
Clothing                                                                         Mass. Gen. Laws c.235, § 34(1)                       500.00                     500.00

Automobiles, Trucks, Trailers, and Other Vehicles
Mazda Tribut                                                                     Mass. Gen. Laws c. 235, § 34(16)                     700.00                  3,665.00

Office Equipment, Furnishings and Supplies
Coper/fax.                                                                       Mass. Gen. Laws c.235, § 34(6)                       500.00                     500.00
Dell Computer
Telephone
Desk
3 Chairs




                                                                                                               Total:            361,094.80                325,004.00
    0      continuation shee ts attached to Schedule of Prope rty Claimed as Exempt
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   In re          Krista L Hicks                                                                                                Case No.
                                                                                                                      ,
                                                                                                     Debtor

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last fou r digits of any account number of all entities holding claims secured by pro perty of the debtor as of
 the date of filin g of the petition. The complete account number of any account the debtor has with the cred itor is useful to the trustee and the cred itor and may be pro vid ed
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical ord er to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007 (m). If all secured
 creditors will not fit on this page, use the continu ation sheet pro vid ed.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the colu mn labeled "Codebtor" ,include the entity on the appropriate
 sch edule of creditors, and complete Schedule H - Codeb tors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital commu nity may be
 liable on each claim by placing an "H", "W", "J", or "C" in the colu mn labeled "Hu sband , Wife, Joint, or Community".
       If the claim is conting ent, place an "X" in the colu mn labeled "Contingen t". If the claim is unliquidated, place an "X" in the colu mn labeled "Un liquidated". If the
 claim is disputed, place an "X" in the colu mn labeled "Disputed". (You may need to place an "X" in more than one of these three colu mn s.)
       Total the colu mn s labeled "Amou nt of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any " in the boxes labeled "Total(s)" on the last
 sheet of the completed sch edule. Report the total from the colu mn labeled "Amou nt of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the colu mn labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                               C    Husband, Wife, Joint, or Community                         C   U   D    AMOUN T OF
              CREDITOR'S NAME                                  O                                                               O   N   I
                                                               D    H         DATE CLAIM WAS INCURRED,                         N   L   S      CLAIM
           AND MAILING ADDRESS                                 E                                                               T   I   P     WITHOUT             UNSECURED
            INCLUDING ZIP CODE,                                B    W             NATURE OF LIEN, AND                          I   Q   U                         PORTION, IF
                                                               T    J           DESCRIPTION AND VALUE                          N   U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                  O                                                               G   I   E     VALUE OF               ANY
             (See instructions above.)                         R
                                                                    C                 OF PROPERTY                              E   D   D
                                                                                    SUBJECT TO LIEN                                        COLLATERAL
                                                                                                                               N   A
                                                                                                                               T   T
Account No.                                                             1/30/2004                                                  E
                                                                                                                                   D

Chase Mortgage                                                          Mortgage
3415 Vision Drive
Columbus, OH 43219                                                      Single Family Home. Billerica, MA
                                                                   -

                                                                        Value $                               318,729.00                     322,500.00                       0.00
Account No.                                                             Home Equity Loan

Homecomings Financial                                                   Single Family Home. Billerica, MA
P.O.Box 9001719
Louisville, KY 40290-1719
                                                                   -

                                                                        Value $                               318,729.00                      35,259.80                       0.00
Account No. xxxx7106                                                    1/2007

Mazda American Credit                                                   Auto loan
Department 193901
P.O. Box 55000                                                          Mazda Tribut
                                                                   -
Detroit, MI 48255-1939

                                                                        Value $                                 3,665.00                       1,685.00                       0.00
Account No.




                                                                        Value $
                                                                                                                            Subtotal
 0
_____ continuation shee ts attached                                                                                                          359,444.80                       0.00
                                                                                                                   (Total of this page)

                                                                                                                             Total           359,444.80                       0.00
                                                                                                   (Report on Summary of Schedules)

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  In re          Krista L Hicks                                                                                            Case No.
                                                                                                               ,
                                                                                           Debtor


                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets pro vid ed. Only holders of unsecured claims entitled
     to priority should be listed in this sch edule. In the boxes pro vid ed on the attached sheets, state the name, mailing address, including zip code, and last fou r digits of the
     account number, if any, of all entities holding priority claims against the debtor or the pro perty of the debtor, as of the date of the filin g of the petition. Use a separate
     continu ation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the cred itor is useful to the trustee and the cred itor and may be pro vid ed if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007 (m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the colu mn labeled "Codebtor," include the entity on the appropriate
     sch edule of creditors, and complete Schedule H-Cod ebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital commu nity may be
     liable on each claim by placing an "H," "W," "J," or "C" in the colu mn labeled "Hu sband , Wife, Joint, or Community." If the claim is conting ent, place an "X" in the
     colu mn labeled "Contingen t." If the claim is unliquidated, place an "X" in the colu mn labeled "Un liquidated." If the claim is disputed, place an "X" in the colu mn labeled
     "Disputed." (You may need to place an "X" in more than one of these three colu mn s.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed sch edule. Report this total also on the Summary of Schedules.
           Report the total of amo unts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amo unts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed sch edule. Ind ividual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amo unts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amo unts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed sch edule. Ind ividual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) belo w if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to who m such a domestic support claim has been assigned to the extent pro vid ed in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the ord er for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifyin g independent sales
     representatives up to $10,950* per person earn ed within 180 days immediately preceding the filin g of the original petition, or the cessation of business, whichever
     occurred first, to the extent pro vid ed in 11 U.S.C. § 507(a)(4).

          Contributions to employe e benefit plans
        Money owed to emp loy ee benefit plan s for services rendered within 180 days immediately preceding the filin g of the original petition, or the cessation of business,
     whichever occurred first, to the extent pro vid ed in 11 U.S.C. § 507(a)(5).

          Certain far mers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as pro vid ed in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of pro perty or services for personal, family, or household use, that were not
     delivered or pro vid ed. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insure d depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervisio n, Comptroller of the Currency, or Board of Gov ernors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a dru g, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amoun ts are subject to adju stment on April 1, 2010 , and every three years thereafter with respect to cases commenced on or after the date of adju stment.
                                                                                1   continuation shee ts attached
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   In re          Krista L Hicks                                                                                                 Case No.
                                                                                                                    ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                               C    Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                  O                                                             O    N   I                      AMOUNT NOT
                                                               D                                                             N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                 E    H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUN T         PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                B    W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U      OF CLAIM
                                                               T    J                                                        N    U   T
           AND ACCOUNT NUMBER                                  O                                                             G    I   E
                                                                                                                                                                       AMOUNT
              (See instructions.)                                   C                                                                                               ENTITLED TO
                                                               R                                                             E    D   D                                PRIORITY
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxxxxxxxPAx0001                                           Opened 7/01/06 Last Active 8/01/07                        E
                                                                                                                                  D

Aes/Usefg Elt Bony                                                      Employment
1200 N 7th St                                                                                                                                                48,416.00
Harrisburg, PA 17102
                                                                   -

                                                                                                                                                48,416.00                    0.00
Account No. xxxx2295                                                    1/2002

Department of Treasury                                                  Unpaid taxes for 2002, 2003 & 2004
Internal Revenue Services                                                                                                                                    0.00
Holtsville, NY 11742-0480
                                                                   -

                                                                                                                                                42,920.41            42,920.41
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation shee ts attached to                                                                    Subtotal                           48,416.00
Schedule of Creditors Holding Unse cured Priority Claims                                                         (Total of this page)           91,336.41          42,920.41
                                                                                                                             Total                           48,416.00
                                                                                                   (Report on Summary of Schedules)             91,336.41            42,920.41

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   In re          Krista L Hicks                                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last fou r digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the pro perty of the debtor, as of the date of filin g of the petition. The complete account number of any account the debtor has with the cred itor is useful to the
 trustee and the cred itor and may be pro vid ed if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007 (m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continu ation sheet pro vid ed.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the colu mn labeled "Codebtor," include the entity on the appropriate
 sch edule of creditors, and complete Schedule H - Codeb tors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital commu nity may be
 liable on each claim by placing an "H," "W," "J," or "C" in the colu mn labeled "Hu sband , Wife, Joint, or Community."
       If the claim is conting ent, place an "X" in the colu mn labeled "Contingen t." If the claim is unliquidated, place an "X" in the colu mn labeled "Un liquidated." If the
 claim is disputed, place an "X" in the colu mn labeled "Disputed." (You may need to place an "X" in more than one of these three colu mn s.)
       Report the total of all claims listed on this sch edule in the box labeled "Total" on the last sheet of the completed sch edule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                       C   U   D
                    CREDITOR'S NAME,                                             O                                                            O   N   I
                    MAILING ADDRESS                                              D   H                                                        N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                  T   I   P
                                                                                 B   W         CONSIDERATION FOR CLAIM. IF CLAIM              I   Q   U
                 AND ACCOUNT NUMBER                                              T   J
                                                                                                 IS SUBJECT TO SETOFF, SO STATE.              N   U   T    AMOUN T OF CLAIM
                   (See instructions above.)                                     O   C                                                        G   I   E
                                                                                 R                                                            E   D   D
                                                                                                                                              N   A
Account No. xxxxxxxxxxxx4363                                                             Opened 5/01/92 Last Active 1/17/07                   T   T
                                                                                                                                                  E
                                                                                         CreditCard                                               D

Amex
Po Box 297871                                                                        -
Fort Lauderdale, FL 33329

                                                                                                                                                                          6,216.00
Account No. 53                                                                           Opened 6/01/01 Last Active 12/31/07
                                                                                         CheckCreditOrLineOfCredit
Bank Of America
Pob 17054                                                                            -
Wilmington, DE 19884

                                                                                                                                                                        12,753.00
Account No. xxxxxxxxxx2799                                                               Opened 5/01/92 Last Active 1/01/08
                                                                                         CheckCreditOrLineOfCredit
Bank Of America
4161 Piedmont Pkwy                                                                   -
Greensboro, NC 27410

                                                                                                                                                                            317.00
Account No. xxxxxxxxxxxxx5128                                                            Opened 11/01/05 Last Active 2/15/08
                                                                                         ChargeAccount
Cit Bank/Dfs
12234 N Ih 35 Sb Bldg B                                                              -
Austin, TX 78753

                                                                                                                                                                          4,204.00

                                                                                                                                           Subtotal
 4
_____ continuation shee ts attached                                                                                                                                     23,490.00
                                                                                                                                 (Total of this page)




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   In re          Krista L Hicks                                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W           DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                                                                                 T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T
                 AND ACCOUNT NUMBER                                                              IS SUBJECT TO SETOFF, SO STATE.                         AMOUN T OF CLAIM
                                                                                 O   C                                                       G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxx5128                                                                  1/2007                                                  E
                                                                                         Revolving                                               D

Dell Preferred Account
Payment Processing Center                                                            -
P.O. Box 6403
Carol Stream, IL 60197-6403
                                                                                                                                                                     4,074.76
Account No. xxxxxxxxxxxx0085                                                             Opened 10/01/06 Last Active 3/01/08
                                                                                         CreditCard
Fashion Bug/Soanb
1103 Allen Dr                                                                        -
Milford, OH 45150

                                                                                                                                                                        319.00
Account No. xxxxxxxx0766                                                                 Opened 5/01/06 Last Active 3/14/08
                                                                                         Shortage after repossession
GMAC
Po Box 12699                                                                         -
Glendale, AZ 85318

                                                                                                                                                                     8,777.46
Account No. xxxxxxxxxxxx3556                                                             Opened 12/01/07 Last Active 12/01/06
                                                                                         Revolving
Ge Capital Lowe S Consum
Po Box 740281                                                                        -
Houston, TX 77274

                                                                                                                                                                     5,887.00
Account No. xxxxxxxx0202                                                                 Opened 9/01/06 Last Active 12/01/07
                                                                                         ChargeAccount
Gemb/Bass Pro
Po Box 981439                                                                        -
El Paso, TX 79998

                                                                                                                                                                     1,279.00

Sheet no. _____
           1    of _____
                    4     shee ts attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                    20,337.22
Creditors Holding Unse cured Nonpriority Claims                                                                                  (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Krista L Hicks                                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W           DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                                                                                 T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T
                 AND ACCOUNT NUMBER                                                              IS SUBJECT TO SETOFF, SO STATE.                         AMOUN T OF CLAIM
                                                                                 O   C                                                       G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxx1311                                                                 Opened 10/01/06 Last Active 3/01/08                     E
                                                                                         ChargeAccount                                           D

Gemb/Preferred Floor
Po Box 981439                                                                        -
El Paso, TX 79998

                                                                                                                                                                     3,877.00
Account No. xxxx9050                                                                     1/2008
                                                                                         Utility bill
key Span
P.O. Box 4300                                                                        -
Woburn, MA 01888-4300

                                                                                                                                                                        889.00
Account No. xx9784                                                                       8/2007
                                                                                         Insurance bill
Massachusetts Business Association
135 Wood Road                                                                        -
Braintree, MA 02184

                                                                                                                                                                    Unknown
Account No. xxxxxxxxx2820                                                                Opened 5/01/95 Last Active 3/01/08
                                                                                         ChargeAccount
Mcydsnb
9111 Duke Blvd                                                                       -
Mason, OH 45040

                                                                                                                                                                        745.00
Account No. xxxxx-x8002                                                                  1/2008
                                                                                         Utility bill
National Grid
Processing Center                                                                    -
Woburn, MA 01807-0005

                                                                                                                                                                        324.00

Sheet no. _____
           2    of _____
                    4     shee ts attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                     5,835.00
Creditors Holding Unse cured Nonpriority Claims                                                                                  (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Krista L Hicks                                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W           DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                                                                                 T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T
                 AND ACCOUNT NUMBER                                                              IS SUBJECT TO SETOFF, SO STATE.                         AMOUN T OF CLAIM
                                                                                 O   C                                                       G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxxxxxxx6050                                                            Opened 6/01/05 Last Active 3/31/08                      E
                                                                                         Shortage after repossession                             D

Nissan-Infiniti Lt
2901 Kinwest Pkwy                                                                    -
Irving, TX 75063

                                                                                                                                                                    20,779.00
Account No. xxxxxxxx90PERK04                                                             Opened 10/05/90 Last Active 10/23/07
                                                                                         School Loan
Northeastern
360 Huntington Ave                                                                   -
Boston, MA 02115

                                                                                                                                                                        912.00
Account No. xxxxxxxxxxx9508                                                              Opened 3/01/99 Last Active 2/01/08
                                                                                         Educational
Suffolk Un
8 Ashburnton Place                                                                   -
Boston, MA 02108-2770

                                                                                                                                                                        381.00
Account No. xxxxxxxxxxxx5350                                                             Opened 7/01/01 Last Active 12/01/07
                                                                                         CreditCard
Target Nb
Po Box 673                                                                           -
Minneapolis, MN 55440

                                                                                                                                                                     8,870.00
Account No. xxxxxxxx4793                                                                 Opened 1/01/02 Last Active 8/07/07
                                                                                         CreditCard
Unvl/Citi
Po Box 6241                                                                          -
Sioux Falls, SD 57117

                                                                                                                                                                    11,106.00

Sheet no. _____
           3    of _____
                    4     shee ts attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                    42,048.00
Creditors Holding Unse cured Nonpriority Claims                                                                                  (Total of this page)




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                                                                           Document     Page 18 of 39
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Krista L Hicks                                                                                                    Case No.
                                                                                                                           ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W           DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                                                                                 T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T
                 AND ACCOUNT NUMBER                                                              IS SUBJECT TO SETOFF, SO STATE.                                AMOUN T OF CLAIM
                                                                                 O   C                                                              G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxxxx4546                                                                   Opened 10/01/06 Last Active 3/24/08                            E
                                                                                         CreditCard                                                     D

Wash Mutual/Providian
Po Box 9180                                                                          -
Pleasanton, CA 94566

                                                                                                                                                                            6,496.00
Account No.




Account No.




Account No.




Account No.




Sheet no. _____
           4    of _____
                    4     shee ts attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                            6,496.00
Creditors Holding Unse cured Nonpriority Claims                                                                                         (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 98,206.22


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B6G (Official Form 6G) (12/07)


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  In re             Krista L Hicks                                                                                 Case No.
                                                                                                         ,
                                                                                      Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contrac ts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contrac t, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               comple te mailing addresse s of all other parties to each lease or contrac t described. If a minor child is a party to one of the leases or contrac ts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See , 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Chec k this box if debtor has no executory contrac ts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Inte rest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contrac t number of any government contrac t.




       0
                 continuation shee ts attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Krista L Hicks                                                                           Case No.
                                                                                                 ,
                                                                                      Debtor

                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the sche dules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (inc luding Alaska, Arizona , California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immedia tely preceding the comme nce ment of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immedia tely preceding the comme nce ment of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See , 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Chec k this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR




       0
               continuation shee ts attached to Schedule of Codebtors
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               Case 08-41594            Doc 1       Filed 05/18/08 Entered 05/18/08 19:20:31                             Desc Main
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B6 I (Officia l Form 6I) (12/07)

 In re     Krista L Hicks                                                                               Case No.
                                                                          Debtor(s)

                             SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's M arital Status :                                                DEPENDE NTS OF DEBTOR AND SPOUSE
                                         RELATIONSHIP(S):                                      AGE(S):
      Divorced                               None.

Employment:                                           DEBTOR                                                        SPOUSE
Occupation                          Attorney
Name of Employer                    Self Employed
How long employed                   10 years
Address of Employer                 21 Cummings Park
                                    Suite 270
                                    Woburn, MA 01801-2198
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            N/A
2. Estimate monthly overtime                                                                             $          0.00          $            N/A

3. SUBTOTAL                                                                                              $             0.00       $                 N/A

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $         1,345.33       $                 N/A
     b. Insurance                                                                                        $             0.00       $                 N/A
     c. Union dues                                                                                       $             0.00       $                 N/A
     d. Other (Specify):                                                                                 $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,345.33       $                 N/A

6. TOTAL NET MO NTHLY TAKE HOME PAY                                                                      $         -1,345.33      $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         4,805.83       $                 N/A
8. Income from real property                                                                             $             0.00       $                 N/A
9. Interest and dividends                                                                                $             0.00       $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A
12. Pension or retirement income                                                                         $             0.00       $                 N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         4,805.83       $                 N/A

15. AVERAGE M ONTHLY INCOM E (Add amounts shown on lines 6 and 14)                                       $         3,460.50       $                 N/A

                                                                                              $              3,460.50
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6 J (Official Form 6J) (12 /0 7)

 In re     Krista L Hicks                                                                      Case No.
                                                                   Debtor(s)


          SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
 1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                2,384.00
  a. Are real estate taxes included?                             Yes X             No
  b. Is property insurance included?                             Yes X             No
 2. Utilities:      a. Electricity and heating fuel                                                          $                  305.00
                    b. Water and sewer                                                                       $                   75.00
                    c. Telephone                                                                             $                  215.00
                    d. Other                                                                                 $                    0.00
 3. Home maintenance (repairs and upkeep)                                                                    $                  250.00
 4. Food                                                                                                     $                  280.00
 5. Clothing                                                                                                 $                   75.00
 6. Laundry and dry cleaning                                                                                 $                   45.00
 7. Medical and dental expenses                                                                              $                    0.00
 8. Transportation (not including car payments)                                                              $                  250.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   25.00
 10. Charitable contributions                                                                                $                   50.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                    a. Homeowner's or renter's                                                               $                    0.00
                    b. Life                                                                                  $                    0.00
                    c. Health                                                                                $                  466.00
                    d. Auto                                                                                  $                  120.00
                    e. Other                                                                                 $                    0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
                  (Specify)                                                                                  $                        0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
 plan)
                    a. Auto                                                                                  $                        0.00
                    b. Other                                                                                 $                        0.00
                    c. Other                                                                                 $                        0.00
 14. Alimony, maintenance, and support paid to others                                                        $                        0.00
 15. Payments for support of additional dependents not living at your home                                   $                        0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                        0.00
 17. Other                                                                                                   $                        0.00
     Other                                                                                                   $                        0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                4,540.00
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
 following the filing of this document:

 20.   STATEMENT OF MONTHLY NET INCOME
 a.     Average monthly income from Line 15 of Schedule I                                                    $                3,460.50
 b.     Average monthly expenses from Line 18 above                                                          $                4,540.00
 c.     Monthly net income (a. minus b.)                                                                     $               -1,079.50
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                                          United States Bankruptcy Court
                                                                                       District of Massachusetts
  In re        Krista L Hicks                                                                                               Case No.
                                                                                                       Debtor(s)            Chapter    7




                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                         DECLARATIO N UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                             I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                  19        sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 18, 2008                                                                       Signature     /s/ Krista L Hicks
                                                                                                       Krista L Hicks
                                                                                                       Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                          United States Bankruptcy Court
                                                                                       District of Massachusetts
  In re        Krista L Hicks                                                                                        Case No.
                                                                                                       Debtor(s)     Chapter    7


                                                                 STATEMENT OF FINANCIAL AFFAIRS

            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                                       DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                                       __________________________________________

                 1. Income from employment or operation of business

    None         State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                 business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                 year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                 calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                 report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                 each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                 petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              AMOUNT                                         SOURCE
                              $57,670.62                                     Income for 2007
                              $19,223.32                                     Income for 2008 to date

                 2. Income other than from employment or operation of business

    None         State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                 during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
                 each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
                 petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              AMOUNT                                         SOURCE


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                                                                                                                                                                  2

                 3. Payments to creditors

    None         Complete a. or b., as appropriate, and c.

                 a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
                 and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
                 of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
                 creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                 nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
                 either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                            DATES OF                                        AMOUNT STILL
    OF CREDITOR                                                                              PAYMENTS                      AMOUNT PAID          OWING

    None         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
                 immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                 transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                 account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                 budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
                 both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                               AMOUNT
                                                                                             DATES OF                           PAID OR
                                                                                             PAYMENTS/                        VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                                TRANSFERS                       TRANSFERS          OWING

    None         c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
                 creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                 spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                            AMOUNT STILL
       RELATIONSHIP TO DEBTOR                                                                DATE OF PAYM ENT              AMOUNT PAID          OWING

                 4. Suits and administrative proceedings, executions, garnishments and attachments

    None         a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
                 this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
                 whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                                       COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                      NATURE OF PROCEEDING                             AND LOCATION            DISPOSITION

    None         b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
                 preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                 property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                 filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                           DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                          DATE OF SEIZURE               PROPERTY

                 5. Repossessions, foreclosures and returns

    None         List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
                 returned to the seller, within one year immediately preceding the commencement of this case. (M arried debtors filing under chapter 12
                 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                 spouses are separated and a joint petition is not filed.)

                                                                                  DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                                FORECLOSURE SALE,             DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                               TRANSFER OR RETURN                     PROPERTY
 GMAC                                                                           3/2008                            2006 Chevy Van
 P.O.Box 105677
 Atlanta, GA 30348



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                                                                                  DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                                FORECLOSURE SALE,             DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                               TRANSFER OR RETURN                      PROPERTY
 Nissan-Infiniti                                                                1/2008                            2005 Nissan Frontier
 P.O. Box 660366
 Dallas, TX 75266-0366

                 6. Assignments and receiverships

    None         a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
                 this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
                 joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                                   ASSIGNMENT                        TERMS OF ASSIGNMENT OR SETTLEM ENT

    None         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
                 preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                 property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                 filed.)

                                                                           NAME AND LOCATION
 NAME AND ADDRESS                                                               OF COURT                           DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                            CASE TITLE & NUMBER                     ORDER               PROPERTY

                 7. Gifts

    None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
                 and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                 aggregating less than $100 per recipient. (M arried debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                 either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                                     RELATIONSHIP TO                                        DESCRIPTION AND
 PERSON OR ORGANIZATION                                                     DEBTOR, IF ANY                        DATE OF GIFT     VALUE OF GIFT

                 8. Losses

    None         List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
                 since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                 spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                 DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                           LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                                    BY INSURANCE, GIVE PARTICULARS          DATE OF LOSS

                 9. Payments related to debt counseling or bankruptcy

    None         List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
                 concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
                 preceding the commencement of this case.

                                                                                              DATE OF PAYM ENT,                       AMOUNT OF MO NEY
 NAME AND ADDRESS                                                                          NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
      OF PAYEE                                                                                   THAN DEBTOR                             OF PROPERTY
 Law Offices of Mark E. Archer                                                             4/2008                                $ 1200.00
 5 Fletcher Street
 2nd Floor
 Chelmsford, MA 01824
 Institute for Financial Literacy                                                          1/2008                                $ 50.00




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                 10. Other transfers

    None         a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
                 transferred either absolutely or as security within two years immediately preceding the commencement of this case. (M arried debtors
                 filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                 spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                              DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                              DATE                        AND VALUE RECEIVED

    None         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
                 trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                       AMOUNT OF MO NEY OR DESCRIPTION AND
 DEVICE                                                                                  DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                         TRANSFER(S)          IN PROPERTY

                 11. Closed financial accounts

    None         List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
                 otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                 financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                 cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
                 include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
                 unless the spouses are separated and a joint petition is not filed.)

                                                                                             TYPE OF ACCOUNT, LAST FOUR
                                                                                             DIGITS OF ACCOUNT NUMBER,       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                            AND AMOUNT OF FINAL BALANCE             OR CLOSING

                 12. Safe deposit boxes

    None         List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
                 immediately preceding the commencement of this case. (M arried debtors filing under chapter 12 or chapter 13 must include boxes or
                 depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                 filed.)

                                                                     NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                            OF THOSE WITH ACCESS                      DESCRIPTION         DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                                TO BOX OR DEPOSITORY                      OF CONTENTS          SURRENDER, IF ANY

                 13. Setoffs

    None         List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                 commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                 spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                              DATE OF SETOFF                    AMOUNT OF SETOFF

                 14. Property held for another person

    None         List all property owned by another person that the debtor holds or controls.


                                                                                           DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                                        PROPERTY                   LOCATION OF PROPERTY




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                 15. Prior address of debtor

    None         If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
                 occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                 address of either spouse.

 ADDRESS                                                                                   NAME USED                     DATES OF OCCUPANCY

                 16. Spouses and Former Spouses

    None         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
                 Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
                 commencement of the case, identify the name of the debtor ’s spouse and of any former spouse who resides or resided with the debtor in
                 the community property state.

 NAME

                 17. Environmental Information.

                 For the purpose of this question, the following definitions apply:

                 "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                 or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
                 statutes or regulations regulating the cleanup of these substances, wastes, or material.

                         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                         owned or operated by the debtor, including, but not limited to, disposal sites.

                         "Hazardous M aterial" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                         pollutant, or contaminant or similar term under an Environmental Law

    None         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
                 or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
                 the Environmental Law:

                                                                     NAME AND ADDRESS OF                   DATE OF               ENVIRONMENTAL
 SITE NAM E AND ADDRESS                                              GOVERNMENTAL UNIT                     NOTICE                LAW

    None         b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                 Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                                     NAME AND ADDRESS OF                   DATE OF               ENVIRONMENTAL
 SITE NAM E AND ADDRESS                                              GOVERNMENTAL UNIT                     NOTICE                LAW

    None         c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                 the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                 docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                         DOCKET NUMBER                 STATUS OR DISPOSITION




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                 18 . Nature, location and name of business

    None         a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                 ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
                 partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
                 immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                 within six years immediately preceding the commencement of this case.

                 If the debtor is a partnership , list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                 ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
                 years immediately preceding the commencement of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                 ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
                 years immediately preceding the commencement of this case.

                                         LAST FOUR DIGITS OF
                                         SOCIAL-SECURITY OR
                                         OTHER INDIVIDUAL
                                         TAXPAYER-I.D. NO .                                                                          BEGINNING AND
 NAME                                    (ITIN)/ COM PLETE EIN                      ADDRESS                  NATURE OF BUSINESS      ENDING DATES

    None         b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                                    ADDRESS


     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                 19. Books, records and financial statements

    None         a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
                 supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                                  DATES SERVICES RENDERED

    None         b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
                 of account and records, or prepared a financial statement of the debtor.

 NAME                                                         ADDRESS                                              DATES SERVICES RENDERED

    None         c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
                 of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                                  ADDRESS

    None         d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
                 issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                           DATE ISSUED




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                 20. Inventories

    None         a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
                 and the dollar amount and basis of each inventory.

                                                                                                                           DOLLAR AMOUN T OF INVENTORY
 DATE OF INVENTORY                                            INVENTORY SUPERVISOR                                         (Specify cost, market or other basis)

    None         b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                                       NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                                     RECORDS

                 21 . Current Partners, Officers, Directors and Shareholders

    None         a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                                        NATURE OF INTEREST                          PERCENTAGE OF INTEREST

    None         b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
                 controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                                        TITLE                             OF STOCK OWNERSHIP

                 22 . Former partners, officers, directors and shareholders

    None         a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
                 commencement of this case.

 NAME                                                                      ADDRESS                                                  DATE OF WITHDRAWAL

    None         b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
                 immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                        TITLE                             DATE OF TERMINATION

                 23 . Withdrawals from a partnership or distributions by a corporation

    None         If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
                 in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
                 commencement of this case.

 NAME & ADDRESS                                                                                                                      AMOUNT OF MO NEY
 OF RECIPIENT,                                                                           DATE AND PURPOSE                            OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                                  OF WITHDRAWAL                               VALUE OF PROPERTY

                 24. Tax Consolidation Group.

    None         If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
                 group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                 of the case.

 NAME OF PARENT CORPORATION                                                                                            TAXPAYER IDENTIFICATION NUMBER (EIN)

                 25. Pension Funds.

    None         If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
                 employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)


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                                      DECLARA TION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date May 18, 2008                                                                       Signature     /s/ Krista L Hicks
                                                                                                       Krista L Hicks
                                                                                                       Debtor

                      Pena lty for making a false statemen t: Fine of up to $500,000 or imp riso nmen t for up to 5 years, or both. 18 U.S.C. §§ 152 and 357 1




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Form 8
(10/05)

                                                                         United States Bankruptcy Court
                                                                                     District of Massachusetts
  In re       Krista L Hicks                                                                                                        Case No.
                                                                                                   Debtor(s)                        Chapter       7


                                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
          I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
          I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
          I intend to do the following with respect to property of the estate which secures those debts or is subject to a lease:

                                                                                                                                               Prop erty will be   Debt will be
                                                                                                                              Prop erty        redeemed            reaffirmed
                                                                                                            Prop erty will be is claimed       pursuant to         pursuant to
 Description of Secured Property                                         Creditor's Name                    Surrend ered      as exempt        11 U.S.C. § 722     11 U.S.C. § 524(c)
 Mazda Tribut                                                            Mazda American Credit                                                                              X
 Single Family Home. Billerica, MA                                       Chase Mortgage                     Debtor will retain collateral and continue to m ake
                                                                                                            regular payments.
 Single Family Home. Billerica, MA                                       Homecom ings Financial             Debtor will retain collateral and continue to m ake
                                                                                                            regular payments.



                                                                                                            Lease will be
                                                                                                            assumed pursuant
 Description of Leased                                                                                      to 11 U.S.C. §
 Prop erty                                                               Lessor's Name                      362(h)(1)(A)
 -NONE-


 Date May 18, 2008                                                                     Signature   /s/ Krista L Hicks
                                                                                                   Krista L Hicks
                                                                                                   Debtor




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                                                                         United States Bankruptcy Court
                                                                                     District of Massachusetts
  In re       Krista L Hicks                                                                                                  Case No.
                                                                                                     Debtor(s)                Chapter    7


                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.      Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
        be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
               For legal services, I have agreed to accept                                                                $                  1,200.00
               Prior to the filing of this statement I have received                                                      $                     0.00
               Balance Due                                                                                                $                  1,200.00

2.      $     299.00          of the filing fee has been paid.

3.      The source of the compensation paid to me was:

                     Debtor                     Other (specify):

4.      The source of compensation to be paid to me is:

                     Debtor                     Other (specify):

5.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
        a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        d. [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                any other adversary proceeding.
                                                                                                CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:        May 18, 2008                                                                          /s/ Mark E. Archer
                                                                                                     Mark E. Archer
                                                                                                     Law Offices of Mark E. Archer
                                                                                                     5 Fletcher Street
                                                                                                     2nd Floor
                                                                                                     Chelmsford, MA 01824
                                                                                                     978-250-5859 Fax: 978-250-5860
                                                                                                     ECF@archer-lawoffices.com




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B 201 (04/09/06)

                                                                 UNITED STATES BANKRUPTCY COURT
                                                                   DISTRICT OF MASSACHUSETTS

                                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
                       In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
              credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
              you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
              information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
              easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
              decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

              Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. U nder chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
              $39 administrative fee: Total fee $274)
           1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. Y ou are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
           2. U nder chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
           3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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              Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


              Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                                        Certificate of Attorney
              I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Mark E. Archer                                                                                        X /s/ Mark E. Archer                        May 18, 2008
Printed Name of Attorney                                                                                 Signature of Attorney                     Date
Address:
5 Fletcher Street
2nd Floor
Chelmsford, MA 01824
978-250-5859

                                                                                          Certificate of Debtor
              I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Krista L Hicks                                                                                        X /s/ Krista L Hicks                        May 18, 2008
 Printed Name(s) of Debtor(s)                                                                            Signature of Debtor                       Date

 Case No. (if known)                                                                                   X
                                                                                                           Signature of Joint Debtor (if any)      Date




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                                                                          United States Bankruptcy Court
                                                                                       District of Massachusetts
  In re        Krista L Hicks                                                                                      Case No.
                                                                                                       Debtor(s)   Chapter    7




                                                       VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:        May 18, 2008                                                               /s/ Krista L Hicks
                                                                                         Krista L Hicks
                                                                                         Signature of Debtor




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                      Aes/Usefg Elt Bony
                      1200 N 7th St
                      Harrisburg, PA 17102

                      AllianceOne
                      1160 Centre Pointe Drive
                      Suite #1
                      Mendota Heights, MN 55120

                      Amex
                      Po Box 297871
                      Fort Lauderdale, FL 33329

                      Bank Of America
                      Pob 17054
                      Wilmington, DE 19884
                      Chase Mortgage
                      3415 Vision Drive
                      Columbus, OH 43219

                      Cit Bank/Dfs
                      12234 N Ih 35 Sb Bldg B
                      Austin, TX 78753
                      Dell Preferred Account
                      Payment Processing Center
                      P.O. Box 6403
                      Carol Stream, IL 60197-6403
                      Department of Treasury
                      Internal Revenue Services
                      Holtsville, NY 11742-0480

                      Fashion Bug/Soanb
                      1103 Allen Dr
                      Milford, OH 45150

                      G M A C
                      Po Box 12699
                      Glendale, AZ 85318
                      Ge Capital Lowe S Consum
                      Po Box 740281
                      Houston, TX 77274

                      GE Money Bank
                      OH3-4233
                      950 Forrer Blvd.
                      Dayton, OH 45420
                      Gemb/Bass Pro
                      Po Box 981439
                      El Paso, TX 79998
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                  Gemb/Preferred Floor
                  Po Box 981439
                  El Paso, TX 79998

                  Homecomings Financial
                  P.O.Box 9001719
                  Louisville, KY 40290-1719
                  key Span
                  P.O. Box 4300
                  Woburn, MA 01888-4300

                  LTD Financial Services. L.P.
                  7322 Southwest Freeway, Suite 1600
                  Houston, TX 77074

                  Massachusetts Business Association
                  135 Wood Road
                  Braintree, MA 02184

                  Mazda American Credit
                  Department 193901
                  P.O. Box 55000
                  Detroit, MI 48255-1939
                  Mcydsnb
                  9111 Duke Blvd
                  Mason, OH 45040

                  National Grid
                  Processing Center
                  Woburn, MA 01807-0005
                  NCO Financial Systems
                  P.O. Box 41448
                  Philadelphia, PA 19101
                  Nissan-Infiniti
                  P.O. Box 660366
                  Dallas, TX 75266-0366

                  Nissan-Infiniti Lt
                  2901 Kinwest Pkwy
                  Irving, TX 75063

                  Northeastern
                  360 Huntington Ave
                  Boston, MA 02115

                  Ocean State Recovery
                  P.O. Box 16331
                  Rumford, RI 02916
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                  Suffolk Un
                  8 Ashburnton Place
                  Boston, MA 02108-2770

                  Target Nb
                  Po Box 673
                  Minneapolis, MN 55440
                  Unvl/Citi
                  Po Box 6241
                  Sioux Falls, SD 57117

                  Wash Mutual/Providian
                  Po Box 9180
                  Pleasanton, CA 94566
